       Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 1 of 29. PageID #: 608



                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

      ATSCO HOLDINGS CORP., et al.                       )    CASE NO. 1:15-CV-1586
                                                         )
                Plaintiffs,                              )    JUDGE CHRISTOPHER A. BOYKO
                                                         )
      v.                                                 )
                                                         )
      AIR TOOL SERVICE COMPANY, et al.                   )
                                                         )
                Defendants.                              )


    TRIAL BRIEF, PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW OF
     DEFENDANTS AIR TOOL SERVICE COMPANY, N/K/A X5432, INC. AND RICK J.
                                 SABATH


           By and through undersigned counsel and pursuant to this Court’s Civil Trial Order (ECF

# 44), Defendants Air Tool Service Company, n/k/a X5432, Inc. (“Air Tool”) and Rick J. Sabath

(“Sabath”) (collectively, with Air Tool Service Co., the “Defendants”), hereby submit the

following Trial Brief and Proposed Findings of Fact and Conclusions of Law, in advance of the

Final Pre-Trial, scheduled for July 20, 2017 at 2:00 p.m., and the Bench Trial of this action,

scheduled to commence on July 31, 2017 at 9:00 a.m.

I.         STATEMENT OF FACTS

           A.      Background Facts.

           This is an action for breach of contract and unjust enrichment arising from the

Defendants’ 2014 sale of Air Tool to Plaintiffs, pursuant to the terms of an Asset Purchase

Agreement (the “Agreement”).1 Defendants, in turn, have asserted a Counterclaim for Plaintiffs’

own breach of the Agreement.

1
 Plaintiffs’ Amended Complaint included a request for punitive damages; however, that request has already been
dismissed by the Court. (ECF # 26).
     Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 2 of 29. PageID #: 609



       Air Tool formerly operated a business in Mentor, Ohio, involved in the design,

engineering, and manufacturing of pneumatic motors and tools. Sabath is the sole shareholder of

Air Tool. In an effort to remove Air Tool as a competitor of Plaintiff Hy-Tech (a wholly-owned

subsidiary of P&F Industries, Inc. (NASDAQ: PFIN)), Plaintiffs negotiated the purchase of Air

Tool from Defendants, which culminated in the Agreement. Pursuant to the terms of the

Agreement, Plaintiffs purchased Air Tool for a purchase price of $7,658,540.00, and the

assumption of certain Assumed Payables pursuant to Section 2.3 of the Agreement. Pursuant to

Section 2.3.4 of the Agreement, Defendants were paid $7,241,040.00 at closing by wire transfer,

with a balance of $387,500.00 (the “Closing Escrow Payment”) to be paid by Plaintiffs pursuant

to the terms of a separate Escrow Agreement.

       Prior to closing, Plaintiffs were given free and unencumbered access to inspect all of Air

Tool’s machinery, assets, and inventory for an extended period of time. In addition, Plaintiffs

were provided full access to Air Tool’s books, records, and properties. Plaintiffs engaged

numerous lawyers, accountants, and business persons to inspect, test, and perform due diligence

regarding Air Tool, from April through August 2014. Following this period of full access, the

sale of Air Tool was consummated, pursuant to the terms of the Agreement.                   Despite

Defendants’ fulfillment of all material terms placed upon them by the Agreement and Escrow

Agreement, Plaintiffs have refused to release the Closing Escrow Payment. Instead, Plaintiffs

initiated the instant lawsuit, which Defendants believe is an attempt to cram down a deal even

more favorable to Plaintiffs, after already having achieved their goal to eliminate an industry

competitor.

       The Complaint asserts that Plaintiffs are entitled to a purchase price adjustment as a result

of alleged deficiencies with inventory transferred under the Agreement. Specifically, Plaintiffs
      Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 3 of 29. PageID #: 610



allege the following items were “non-saleable and without value” post-sale: (1) grinders and

grinder parts inventory relating to a customer, ATA; (2) two tools manufactured specifically for

a customer, Michigan Pneumatic; (3) parts manufactured prior the closing for a customer,

TorcUp; and (4) various other parts and assemblies. See Amended Complaint (ECF # 4), at ¶¶

13-17. The Complaint also alleges that the Defendants breached the Agreement, and thereby

caused the Plaintiffs to sustain damages, as the result of the condition of certain machinery

transferred to Plaintiffs under the Agreement, including “operational losses” and damages

associated with “lost productivity.” Id. at ¶¶ 18-24.2

        Defendants’ Counterclaim asserts that, despite Defendants having fulfilled all material

terms placed upon them by the Asset Purchase Agreement and Escrow Agreement, Plaintiffs

have refused to release the Closing Escrow Payment to Plaintiffs, in violation of the Agreement

and Escrow Agreement. See Counterclaim (ECF # 11), at ¶¶ 1-18.

        B.       Relevant Contractual Provisions.

                 1.       Alleged Breaches of Sections 3.6 and 3.13.

        Plaintiffs’ first theory of relief is based upon Sections 3.6 and 3.13 of the Agreement,

which provide:

        3.6      Financial Statements.

                 (a)      Seller has provided to Purchaser true and complete copies of the
                          following financial statements of Seller (the “Financial
                          Statements”), copies of which are attached hereto as Schedule 3.6:


2
  In addition to these claims, the Complaint also alleges that Defendants breached the Agreement as a result of (1)
certain product plans and drawings allegedly not being materially accurate and complete; (2) an Air Tool customer
allegedly claimed ownership over certain unidentified intellectual property that had been sold to Plaintiffs by
Defendants; and (3) certain credits allegedly owed to a customer for warranty claims, and that such credits were not
reserved on Air Tool’s balance sheet.. See Amended Complaint, at ¶¶ 25-27. However, as explained in Defendants’
separately filed Motion in Limine, or, in the alternative, Motion for Partial Summary Judgment (the “Motion”) (ECF
# 48), Plaintiffs abandoned these claims in the course of discovery. Defendants incorporate by reference the
arguments and authorities set forth in the Motion, which remains pending.
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 4 of 29. PageID #: 611



                    (i)     Seller's audited financial statements as of December 31,
                            2013 and for two (2) years then ended (the “Audited
                            Financial Statements”), and

                    (ii)    Seller's unaudited financial statements as of June 30, 2014
                            and for six (6) months then ended (the “Interim Financial
                            Statements”), and Seller’s unaudited Financial Statements
                            on a trailing twelve (12) month basis for the period ending
                            June 30, 2014 (the “TIM Financial Statements”, and
                            together with the Interim Financial Statements, the
                            “Unaudited Financial Statements”).

            (b)     The Audited Financial Statements (i) are true, and complete, (ii)
                    are in accordance with the Books and Records of Seller, (iii) fairly
                    present the financial position of Seller as of such date[s] and the
                    results of operations and cash flows of Seller for such year[s], and
                    (iv) were prepared in conformity with GAAP consistently applied
                    throughout the periods covered thereby. The Audited Financial
                    Statements have been audited by O'Connor, Pagano and Grupak,
                    LLC, whose audited report thereon is included therein.

            (c)     The Unaudited Financial Statements (i) are true and complete, (ii)
                    are in accordance with the Books and Records of Seller, (iii) fairly
                    present the financial position of Seller as of such date and the
                    results of operations of Seller for such period, and (iv) were
                    prepared in accordance with GAAP consistently applied
                    throughout the periods covered thereby and on a basis that is
                    consistent with the Audited Financial Statements.

*    *      *

     3.13 Inventories. Attached hereto as Schedule 3.13 is a true and complete list
     of the Inventory as of June 30, 2014, including the location thereof. All items
     included in the Inventory consist of a quality and quantity usable and, with respect
     to finished goods, saleable, in the ordinary course of business of Seller, except for
     obsolete items and items of below standard quality, all of which have been written
     off or written down to net realizable value in the Balance Sheet and/or will be
     written off or written down to net realizable value in the Closing Statement. All
     of the Inventory has been valued at the lower of cost or market value on a first in,
     first out basis. Inventory now on hand that was purchased after the Balance Sheet
     Date was purchased in the ordinary course of business of Seller at a cost not
     exceeding market prices prevailing at the time of purchase. The quantities of each
     item of Inventory (whether raw materials, work-in-process or finished goods) are
     not excessive but are reasonable in the present circumstances of the Business.
     Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 5 of 29. PageID #: 612



Plaintiffs claim Defendants breached these provisions of the Agreement, insofar as the following

items were allegedly “non-saleable and without value” post-sale: (1) grinders and grinder parts

inventory relating to a customer, ATA; (2) two tools manufactured specifically for a customer,

Michigan Pneumatic; (3) parts manufactured prior the closing for a customer, TorcUp; and (4)

various other parts and assemblies. See Amended Complaint, at ¶¶ 13-17.

       Under Section 2.3.2.1 of the Agreement, however, Plaintiffs were required to perform a

count of Air Tool’s inventory and provide Defendants with an Inventory Acknowledgement

within twenty (20) days after the Closing Date:

       2.3.2.1 Inventory. Not later than twenty (20) days after the Closing Date, a
       physical count of the Inventory (the “Inventory Count”) will be taken by Michael
       Sivula, Nicholas Russell and Michael Turick, or if for any reason any of such
       persons does not take such Inventory Count, such other persons as may be
       reasonably acceptable to Purchaser and Seller (such acceptance, if any, to be
       evidenced by written agreement between Purchaser and Seller), in accordance
       with past practices of Seller and other reasonable procedures of Purchaser, as of
       the date of such Inventory Count. Purchaser shall give Seller reasonable advance
       notice of the Inventory Count and allow Shareholder to be physically present
       during such count. Not later than twenty (20) days after the Closing Date, a roll-
       back (the "Roll-Back") of the Inventory Count (the “Roll-Back Inventory”) to the
       Effective Time will be performed by employees of Purchaser. The Roll-Back will
       be performed in a manner consistent with the method utilized in preparing the
       Audited Financial Statements. A statement setting forth the Roll-Back Inventory
       based upon such Roll-Back (the “Inventory Acknowledgment”), will be delivered
       by Purchaser to Seller not later than twenty (20) days after the Closing Date. The
       Roll-Back Inventory, as set forth in the Inventory Acknowledgement is hereby
       deemed final, conclusive and binding, absent manifest error.

The evidence at trial will show that Plaintiffs failed to properly and diligently conduct an

inventory review in violation of the Agreement, and did not provide Defendants with an

Inventory Acknowledgement until October 16, 2014 – sixty-two (62) days after the Closing

Date. Of course, by that time, Defendants no longer had any control over the day-to-day

operations of Air Tool, its former employees, equipment or inventory.          Furthermore, as

explained in Defendants’ pending Motion in Limine to Exclude Expert Opinion Testimony and
     Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 6 of 29. PageID #: 613



to Limit Lay Opinion Testimony (ECF # 47), Plaintiffs have failed to identify or provide

disclosures required under Fed. R. Civ. P. 26 for any expert witness to testify in support of their

allegations concerning the condition or quality of any inventory transferred under the

Agreement, or Plaintiffs’ alleged damages associated therewith.

               2.     Alleged Breach of Section 3.17.

       Plaintiffs’ second theory of relief is based upon Sections 3.17 of the Agreement, which

provides:

       3.17    Ownership and Condition of Assets.

               (a)    Seller owns outright, and has good and marketable title to, all of
                      the Assets (including all assets reflected in the Balance Sheet), free
                      and clear of all Liens. The Assets constitute all assets necessary to
                      permit Seller to conduct the Business as now conducted. None of
                      the Assets are subject to any restriction with regard to
                      transferability. There are no Contracts with any Person to acquire
                      any of the Assets or any rights or interest therein. Other than the
                      Leased Real Property, neither Shareholder, nor any Affiliate of
                      Seller or Shareholder owns any Assets, properties or rights relating
                      to the Business.

               (b)    Attached hereto as Schedule 3.17(b) is a true and complete list of
                      the Fixed Assets, including the location thereof.

               (c)    The Fixed Assets (i) are in good operating condition and repair,
                      subject to normal wear and tear, (ii) have been reasonably
                      maintained consistent with standards generally followed in the
                      industry, (iii) are suitable for their present uses, and (iv) are
                      sufficient in nature, quality and quantity to permit Purchaser to
                      conduct the Business from and after the Closing as currently
                      conducted. Seller has not received any notice that any of the Fixed
                      Assets is in violation of any existing Law, including any building,
                      zoning, health, safety or other ordinance, code or regulation.

Plaintiffs claim Defendants breached this provision of the Agreement due to the alleged

condition of an Okuma MacTurn computerized numerical controlled (CNC) manufacturing

machine, as well as the sale of a different Okuma CNC manufacturing machine by Defendants
     Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 7 of 29. PageID #: 614



prior to closing, including “operational losses” and damages associated with “lost productivity.”

See Amended Complaint, at ¶¶ 18-24. However, the evidence at trial will demonstrate that

Plaintiffs consummated the purchase of Air Tool with full knowledge of the character and

quality of Air Tool’s equipment. Documents contained in Plaintiffs’ own due diligence materials

confirm that (1) during the due diligence period, Defendants specifically informed Plaintiffs

about a host of issues with the Okuma MacTurn machine including ongoing litigation concerning

it; (2) Plaintiffs were made aware of the sale of the other Okuma CNC machine on May 1, 2014,

during the due diligence phase of the transaction and long before closing; and (3) Plaintiffs

acknowledged during the due diligence phase of the transaction that “[g]iven the fact that the

entire operation is moving, there is more than enough equipment for our intended production as

this equipment will be supplemented with ours.”

       Furthermore, as explained in Defendants’ pending Motion in Limine to Exclude Expert

Opinion Testimony and to Limit Lay Opinion Testimony (ECF # 47), Plaintiffs have failed to

identify or provide disclosures required under Fed. R. Civ. P. 26 for any expert witness to testify

in support of their allegations concerning the condition or quality of any equipment transferred

under the Agreement, including the Okuma MacTurn machine, or Plaintiffs’ alleged damages

associated therewith.

               3.       Alleged Breaches of Sections 3.11(c) and 3.7(c).

       Plaintiffs’ third and fourth theories of relief are premised upon Sections 3.11(c) and

3.7(c) of the Agreement. See Amended Complaint, at ¶¶ 25-27. Both of these theories are

addressed by Defendants’ separately filed Motion in Limine to Exclude the Presentation of

Evidence Concerning Claims Abandoned by Plaintiffs in Discovery, or in the Alternative,

Motion for Leave to File Motion for Partial Summary Judgment, Instanter (the “Motion”) (ECF
     Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 8 of 29. PageID #: 615



# 48). As explained therein, Plaintiffs abandoned these claims in the course of discovery.

Defendants incorporate by reference the arguments and authorities set forth in the Motion, which

remains pending.

               4.     All of Plaintiffs’ Claims Were Waived under Section 11 of the
                      Agreement.

       Regardless of the theory advanced by Plaintiffs, each of their purported claims falls under

the indemnification provision of the Agreement, which provides, in pertinent part:

       11.2    Indemnification.

               11.2.1 General Indemnification Obligation of Seller and Shareholder.
               From and after the date hereof, Seller and Shareholder, jointly and
               severally, will reimburse, indemnify and hold harmless Purchaser and its
               directors, officers, employees, shareholders, successors and assigns (an
               “Indemnified Purchaser Party”) against and in respect of any and all
               Actions, damages, losses, diminution in value, deficiencies, liabilities,
               assessments, fines, costs and expenses, including court costs, costs and
               expenses of investigation and reasonable attorneys fees (collectively,
               “Losses”), incurred or suffered by any Indemnified Purchaser Party that
               result from, relate to or arise out of:

       *       *      *

               (b)    any misrepresentation or breach of warranty on the part of Seller
                      and/or Shareholder under this Agreement;

               (c)     nonfulfillment of any agreement or covenant on the part of Seller
                      and/or Shareholder under this Agreement; * * *

Under the Agreement, the parties agreed to a process for the resolution of such claims, and

specifically waived the right to assert causes of action of the type Plaintiffs are now asserting.

Pursuant to Section 11.5(c) of the Agreement:

       The parties acknowledge and agree that their sole and exclusive remedy with
       respect to any and all Claims (other than Claims arising from fraud, criminal
       activity or willful misconduct on the part of a party hereto in connection with the
       transactions contemplated by this Agreement) for any breach of any
       representation, warranty, covenant, agreement or obligation set forth herein or
       otherwise relating to the subject matter of this Agreement, shall be pursuant to the
      Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 9 of 29. PageID #: 616



       indemnification provisions set forth in this Article XI. In furtherance of the
       foregoing, each party hereby waives, to the fullest extent permitted under
       Law, any and all rights, Claims and causes of Action for any breach of any
       representation, warranty, covenant, agreement or obligation set forth herein
       or otherwise relating to the subject matter of this Agreement it may have
       against the other parties hereto and their Affiliates and each of their
       respective Representatives arising under or based upon Law, except
       pursuant to the indemnification provisions set forth in this Article XI. * * *
       (Emphasis added).

Plaintiffs failed to follow the agreed-upon procedures for the resolution of their purported claims

under the Agreement, and instead, initiated the instant lawsuit.

       Even if Plaintiffs had not waived its right to litigate under the Agreement, additional

provisions of the Agreement would still preclude recovery. For example, pursuant to Section

11.3 of the Agreement, Defendants are not liable for the first $75,000.00 of Plaintiffs’ alleged

losses. Having failed to identify or provide disclosures required under Fed. R. Civ. P. 26 for any

expert witness to testify in support of their purported claims, Plaintiffs will be unable to establish

damages in excess of this threshold. Further, pursuant to Section 11.4 of the Agreement,

Defendants would have the right to “withhold from and offset against any amounts due to Seller,

pursuant to this Agreement or otherwise, the amount of such Claims.” Plaintiffs walked out on

their lease for the Mentor facility owned by Mr. Sabath, leaving several months of rent unpaid,

which would serve as a further set-off, even if Plaintiffs had not already waived their rights to

litigate or could somehow establish damages in excess of $75,000.00, which they cannot.

II.    CONTROLLING LAW

       A.      Breach of Contract.

       To prevail on their claims for breach of contract, Plaintiffs must prove: (1) the existence

of a binding contract; (2) that the nonbreaching party performed its contractual obligations; (3)

the other party failed to fulfill its contractual obligations without legal excuse; and (4) the
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 10 of 29. PageID #: 617



nonbreaching party suffered damages as a result of the breach. Nachar v. PNC Bank, Nat. Ass'n,

901 F.Supp.2d 1012, 1018 (N.D.Ohio 2012) (Boyko, J.), citing Baghani v. Charter One Bank

F.S.B., No. 91373, 2009 WL 280399, ¶ 13 (Ohio Ct. App. Feb. 5, 2009)

       Here, as an initial matter, Plaintiffs have waived “any and all rights, Claims and causes

of Action for any breach of any representation, warranty, covenant, agreement or

obligation set forth herein or otherwise relating to the subject matter of this Agreement it

may have against the other parties hereto and their Affiliates and each of their respective

Representatives arising under or based upon Law, except pursuant to the indemnification

provisions set forth in this Article XI.” See Agreement, at § 11.5(c) (emphasis added).

       Beyond the fact that Plaintiffs have waived the right to litigate their purported breach of

contract claims, and while no dispute exists as to the existence of a written contract between the

parties, Plaintiffs will be unable to satisfy the remaining three (3) elements for a breach of

contract claim.

       As to the second element, the evidence at trial will show that Plaintiffs failed to perform

their contractual obligations under the contract. For example, Plaintiffs were required to perform

a count of Air Tool’s inventory and provide Defendants with an Inventory Acknowledgement

within twenty (20) days after the Closing Date. See Agreement, at § 2.3.2.1. Plaintiffs failed to

properly and diligently conduct an inventory review in violation of the Agreement, and did not

provide Defendants with an Inventory Acknowledgement until October 16, 2014 – sixty-two

(62) days after the Closing Date. Plaintiffs were also required to pay Defendants the Closing

Escrow Payment of $387,500.00, and failed to do so. See Agreement, at § 2.3.4. Moreover,

although Plaintiffs’ purported claims fall under the indemnification provision of the Agreement,

and Plaintiffs specifically waived the right to assert causes of action of the kind they are now
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 11 of 29. PageID #: 618



asserting, Plaintiffs failed to perform in accordance with the indemnification provision of the

Agreement and initiated the instant lawsuit.

       As to the third element, the condition and functionality of highly technical machines and

machine parts such as the ones at issue in this matter are beyond the experience or knowledge of

an average fact finder, and thus fall under the category of expert testimony. See Fed. R. Evid.

702; see also, Guild Assoc., Inc. v. Bio-Energy (Washington), LLC, 309 F.R.D. 436, 441

(S.D.Ohio 2015) (noting that, in order to resolve a breach of contract action arising from the

alleged failure of a Nitrogen Removal Unit machine used to purify landfill gas into pipeline

quality gas, “it is likely that the jury will need to sort through complex testimony from expert

witnesses, highly technical evidence pertaining to machine functions at the BEW plant, and

evidence and testimony regarding contract clauses and sub clauses.”). Plaintiffs, having failed to

properly and diligently conduct an inventory review within twenty (20) days after the Closing

Date, in violation of the Agreement, and having failed to identify experts or make the disclosures

required under Civ.R. 26, will be unable to satisfy their burden as to this element.

       As to the final element, a “party cannot recover damages for breach of contract beyond

the amount that is established by the evidence with reasonable certainty.”       Younglove Const.,

LLC v. PSD Dev., LLC, 782 F.Supp.2d 457, 461 (N.D. Ohio 2011). “Proving damages for

breach of a contract requires greater certainty than in the proof of damages for a tort.”

Younglove Const., LLC, 782 F.Supp.2d at 461, fn 1, citing Kinetico, Inc. v. Independent Ohio

Nail Co., 19 Ohio App.3d 26, 30, 482 N.E.2d 1345 (Ohio Ct. App. 8th Dist. 1984); also citing

Hacker v. Mail, 1996 WL 346628, n. 5 (Ohio Ct. App. 12th Dist. 1996) (comparing Rest. 2d

Contracts § 352 (1981) with Rest. 2d Torts § 912 (1979)); 22 Am. Jur. 2d Damages § 484

(1988). To prove damages with reasonable certainty, expert testimony is often required. See,
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 12 of 29. PageID #: 619



e.g., Wood Elec., Inc., Plaintiff-Appellee, v. Ohio Facilities Construction Commission, 2017-

Ohio-2743, ¶ 20 (Ohio Ct. App. 10th Dist. 2017) (expert presented on issue of claimed damages

associated with “lost productivity”); Emerman v. Financial Commodity Investments, L.L.C.,

N.D.Ohio No. 1:13CV2546, 2016 WL 231309, **8-9 (N.D. Ohio 2016) (granting summary

judgment where plaintiff’s alleged damages, similarly to Plaintiffs’ alleged damages here, were

supported only by “multi-page spreadsheets, each of which contains multiple columns of

unexplained numbers and abbreviations” and finding plaintiff’s failure to obtain an expert

“perplexing when one considers the fact that they had every opportunity to obtain expert

testimony regarding damages”).       Plaintiffs, having failed to identify experts or make the

disclosures required under Civ.R. 26, will be unable to satisfy their burden as to this element.

       B.      Unjust Enrichment.

       Under Ohio law, there are three elements Plaintiff must prove in order to make a claim

for unjust enrichment. There must be: (1) a benefit conferred by the plaintiff upon the defendant,

(2) knowledge by the defendant of the benefit, and (3) retention of the benefit under the

circumstances where it would be unjust to do so without payment.                Premier Colorscan

Instruments Pvt. Ltd. v. Q–Lab Corp., N.D.Ohio No. 1:15CV1900, 2016 WL 6124430, *5 (N.D.

Ohio Oct. 19, 2016) (Boyko, J.), citing Reisenfeld & Co. v. Network Group, Inc., 277 F.3d 856,

860 (6th Cir. 2002). The doctrine of unjust enrichment does not apply when a contract actually

exists; rather, it is an equitable remedy to be used only when the court finds there is no contract.”

Premier Colorscan, 2016 WL 6124430, *5 (citing Everett v. Verizon Wireless, Inc., 460 F.3d

818 (6th Cir. 2006).

       In Ohio, recovery under an unjust enrichment claim is not permitted where an express

contract covers the same subject, with the exception that if the party the claim is against acted in
       Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 13 of 29. PageID #: 620



bad faith, then the unjust enrichment claim may proceed. See, e.g., White v. Wells Fargo Bank,

NA, 904 F. Supp. 2d 756, 767 (N.D. Ohio 2012) (explaining the rule and bad faith exception);

Randolph v. New England Mut. Life Ins. Co., 526 F.2d 1383, 1387 (6th Cir. 1975) (recognizing

the rule and the exception for bad faith). The bad faith exception is limited to instances of bad

faith where the party was induced into “entering into the contract, or . . . in terminating the

contract.” White, 904 F. Supp. 2d at 767 (quoting Randolph, 526 F.2d at 1387) (internal

quotation marks omitted). “Bad faith is that which imports a dishonest purpose and implies

wrongdoing or some motive of self-interest.” Id., quoting Casserlie v. Shell Oil Co., 121 Ohio

St.3d 55, 2009-Ohio-3, 902 N.E.2d 1, ¶ 32 (internal quotation marks omitted)

         Here, in addition to the fact that Plaintiffs have waived the right to pursue a claim for

unjust enrichment, there is no dispute as to the existence of an express written contract between

the parties. Moreover, Plaintiffs’ Amended Complaint does not allege bad faith or fraud on the

part of either Defendant. As a result, Plaintiffs’ claim for unjust enrichment must fail as a matter

of law. See, e.g., Premier Colorscan, 2016 WL 6124430 at *5 (Boyko, J.) (“Because Plaintiff

has not alleged fraud or bad faith in its unjust enrichment claim, Plaintiff does not demonstrate

an issue of material fact.”).

III.     PROPOSED WITNESSES

         A.     Custodian of Records/Corporate Representative, Air Tool Service Company,
                NKA X5432, Inc., c/o Counsel for Defendants;

         B.     Rick J. Sabath, Air Tool Service Company, NKA X5432, Inc., 19129 Peninsula
                Point Drive, Cornelius, NC 28031;

         C.     Michael Sivula, CFO, Air Tool Service Company, NKA X5432, Inc., 11465
                Glenmora Drive, Chardon, OH 44024;

         D.     James Becker, Vice President, Air Tool Service Company, NKA X5432, Inc.,
                11191 Wilson Mills Rd., Chardon, OH 44024;
      Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 14 of 29. PageID #: 621



        E.    Custodian of Records/Corporate Representative, Plaintiff/Counter-Defendant
              ATSCO Holdings Corp., c/o counsel for Plaintiffs (as if on cross examination);

        F.    Custodian of Records/Corporate Representative, Plaintiff/Counter-Defendant Hy-
              Tech Machine, Inc., c/o counsel for Plaintiffs (as if on cross examination);

        G.    Joseph Molino, c/o Counsel for Plaintiffs (as if on cross examination);

        H.    Elizabeth Smail, c/o Counsel for Plaintiffs (as if on cross examination);

        I.    Richard Horowitz, c/o Counsel for Plaintiffs (as if on cross examination);

        J.    Jim Aloi, c/o Counsel for Plaintiffs (as if on cross examination);

        K.    Robert Ober, c/o Counsel for Plaintiffs (as if on cross examination);

        L.    Any individuals identified in the disclosures or discovery responses of Plaintiffs
              or who may be called by Plaintiffs at trial;

        M.    Any person necessary to authenticate documents introduced into evidence;

        N.    Defendants reserve the right to call any additional witness for the purposes of
              rebuttal

IV.     PROPOSED EXHIBITS

        A.    Asset Purchase Agreement dated August 13, 2014 by and among ATSCO
              Holdings Corp., Hy-Tech Machine, Inc., Air Tool Service Company, and Rick J.
              Sabath;

        B.    Escrow Agreement dated August 13, 2014 by and among ATSCO Holdings
              Corp., Hy-Tech Machine, Inc., Air Tool Service Company, and Rick J. Sabath;

        C.    Inventory Acknowledgement dated October 16, 2014;

        D.    Due Diligence Materials – Binder 1;

        E.    Due Diligence Materials – Binder 2;

        F.    Due Diligence Materials – Binder 3;

        G.    Due Diligence Materials – Binder 4 - Schedules;

        H.    Due Diligence Materials – Binder 5 – Schedules, Other Receivables;

        I.    June 2014 Memorandum, bates labeled HY0602;
     Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 15 of 29. PageID #: 622




        J.      June 2014 Memorandum, bates labeled HY0603;

        K.      Email from Mike Sivula dated April 25, 2014, bates labeled HY0829-HY0830;

        L.      July 18, 2014 Email from Elizabeth Smail to Joe Molino, bates labeled HY0897;

        M.      Plaintiffs’ Response to Defendants’ First Set of Interrogatories and Requests for
                Production of Documents and Second Set of Requests for Production of
                Documents;

        N.      Any and all pleadings, motions or discovery responses filed or served in the
                instant matter;

        O.      Any and all documents identified by other parties to this action; and

        P.      Defendants reserve the right to introduce any and all necessary exhibits for the
                purposes of rebuttal.

V.      PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

                                      FINDINGS OF FACT

        1.      Plaintiff ATSCO Holdings Corp. (“ATSCO”) is a Delaware corporation with its

principal place of business in Pennsylvania.        (Amended Complaint, at ¶ 1, testimony of

Plaintiffs’ representatives).

        2.      Plaintiff Hy-Tech machine, Inc. (“Hy-Tech”) is a Delaware corporation with its

principal place of business in Pennsylvania.        Hy-Tech and ATSCO are, collectively, the

“Plaintiffs.” (Amended Complaint, at ¶ 2, testimony of Plaintiffs’ representatives).

        3.      Defendant Air Tool Service Company, n/k/a X5432, Inc. (“Air Tool”) is an Ohio

Corporation which formerly operated a business involved in the designing, engineering, and

manufacturing of pneumatic motors and tools in Mentor, Ohio. Air Tool was a competitor of

Hy-Tech. (Answer and Counterclaim, at ¶ 1, testimony of Sabath).
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 16 of 29. PageID #: 623



       4.      Defendant Rick J. Sabath (“Sabath”) is the sole shareholder of Air Tool. Sabath

and Air Tool are, collectively, the “Defendants.” (Answer and Counterclaim, at ¶ 2, testimony of

Sabath).

       5.      Plaintiffs negotiated the sale of Air Tool from Defendants to Plaintiffs, and on

August 13, 2014, Plaintiffs and Defendant entered into an Asset Purchase Agreement (the

“Agreement”). (Def. Proposed Ex. A, testimony of Sabath, Molino, Horowtiz, Ober).

       6.      During the months of April, May, June, July, and August 2014, Plaintiffs were

provided free and unencumbered access to inspect all of Air Tool’s machinery, assets, and

inventory. In addition, Plaintiffs were provided full access to Air Tool’s books, records, and

properties. Plaintiffs engaged numerous lawyers, accountants, and business persons to inspect,

test, and perform due diligence regarding Air Tool, from April through August 2014. Following

this period of access, the sale of Air Tool was consummated, pursuant to the terms of the

Agreement. (Def. Proposed Exs. D-L, testimony of Sabath, Sivula, Molino, Smail, Horowtiz,

Ober, Aloi).

       7.      Plaintiffs purchased Air Tool for a purchase price of $7,658,540.00, and the

assumption of certain Assumed Payables pursuant to Section 2.3 of the Agreement. Pursuant to

Section 2.3.4 of the Agreement, Defendants were to be paid $7,241,040.00 at closing by wire

transfer, with a balance of $387,500.00 (the “Closing Escrow Payment”) to be paid by Plaintiffs

pursuant to the terms of an Escrow Agreement. (Def. Proposed Ex. A, at §§ 2.3 and 2.3.4).

       8.      Pursuant to Section 2.3.2.1 of the Agreement, Plaintiffs were required to perform

a count of Air Tool’s inventory and provide Defendants with an Inventory Acknowledgement

within twenty (20) days after the Closing Date (August 13, 2014):

            2.3.2.1 Inventory. Not later than twenty (20) days after the Closing Date, a
            physical count of the Inventory (the “Inventory Count”) will be taken by
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 17 of 29. PageID #: 624



             Michael Sivula, Nicholas Russell and Michael Turick, or if for any reason any
             of such persons does not take such Inventory Count, such other persons as
             may be reasonably acceptable to Purchaser and Seller (such acceptance, if
             any, to be evidenced by written agreement between Purchaser and Seller), in
             accordance with past practices of Seller and other reasonable procedures of
             Purchaser, as of the date of such Inventory Count. Purchaser shall give Seller
             reasonable advance notice of the Inventory Count and allow Shareholder to be
             physically present during such count. Not later than twenty (20) days after the
             Closing Date, a roll-back (the "Roll-Back") of the Inventory Count (the “Roll-
             Back Inventory”) to the Effective Time will be performed by employees of
             Purchaser. The Roll-Back will be performed in a manner consistent with the
             method utilized in preparing the Audited Financial Statements. A statement
             setting forth the Roll-Back Inventory based upon such Roll-Back (the
             “Inventory Acknowledgment”), will be delivered by Purchaser to Seller not
             later than twenty (20) days after the Closing Date. The Roll-Back Inventory,
             as set forth in the Inventory Acknowledgement is hereby deemed final,
             conclusive and binding, absent manifest error.

       9.       Plaintiffs provided Defendants with an Inventory Acknowledgement on October

16, 2014 – 62 days after the Closing Date – which document refers to Plaintiffs’ inventory

review as “ongoing.” (Def. Proposed Ex. C)

       10.      Section 11.2 of the Agreement provides, in pertinent part:

                11.2    Indemnification.

                     11.2.1    General Indemnification Obligation of Seller and
                               Shareholder. From and after the date hereof, Seller and
                               Shareholder, jointly and severally, will reimburse,
                               indemnify and hold harmless Purchaser and its directors,
                               officers, employees, shareholders, successors and assigns
                               (an “Indemnified Purchaser Party”) against and in respect
                               of any and all Actions, damages, losses, diminution in
                               value, deficiencies, liabilities, assessments, fines, costs and
                               expenses, including court costs, costs and expenses of
                               investigation and reasonable attorneys fees (collectively,
                               “Losses”), incurred or suffered by any Indemnified
                               Purchaser Party that result from, relate to or arise out of:

                *       *      *

                               (b)     any misrepresentation or breach of warranty on the
                                       part of Seller and/or Shareholder under this
                                       Agreement;
Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 18 of 29. PageID #: 625




                       (c)     nonfulfillment of any agreement or covenant on the
                               part of Seller and/or Shareholder under this
                               Agreement; * * *

  11.   Section 11.2.3 of the Agreement provides, in pertinent part:

        11.2.3.1       Method of Asserting Claims.

        *      *       *

                       (c)     In the event an Indemnified Party should have a
                               Claim against Seller and/or Shareholder hereunder
                               that does not involve a Claim being asserted against
                               or sought to be collected from it by a third party, the
                               Indemnified Party shall send a Claim Notice with
                               respect to such Claim to Seller and/or Shareholder.

  12.   Section 11.3 of the Agreement provides:

        11.3 Limitations. Notwithstanding anything herein to the contrary, as to
        matters which are subject to indemnification pursuant to this Section
        11.2.1 (b), (a) Seller and Shareholder shall not be liable unless and until
        the aggregate Losses to the Indemnified Purchaser Parties resulting from
        such otherwise indemnifiable matters under Section 11.2.l(b) (and (x) any
        Assumed Warranty Obligations described in Section 10.1 and (y) any
        Customer other Business Relationships described in Section 10.7) shall
        exceed a cumulative aggregate of $75,000 (the “Indemnification
        Threshold”) (with Seller and Shareholder being responsible for all Losses
        that exceed the Indemnification Threshold), and (b) the aggregate amount
        of any payments that shall be payable by Seller and Shareholder as a result
        of any Claims for indemnification made under Section 11.2.1(b) with
        respect to a misrepresentation or breach of warranty shall be limited to $6
        million (the “General Maximum Limitation”); provided, however, that
        neither the Indemnification Threshold nor the General Maximum
        Limitation shall apply to (i) Claims for Losses relating to a breach of the
        representations and warranties of Seller set forth in Sections 3.1 through
        3.5, 3.10, 3.12, 3.17 (first sentence), 3.21, 3.24, 3.26, 3.27 and 3.37, (ii)
        Claims for Losses relating to the Retained Liabilities, (iii) Claims relating
        to any unpaid Taxes owed by Seller and/or Shareholder, including any
        sales Tax associated with the transactions contemplated hereby and/or
        required to be paid by, or on behalf of Seller in connection with the
        operations of its Business, or otherwise, or (iv) Claims for Losses relating
        to a breach of any representation or warranty that was actually known to
        be false when made or for fraud. For purposes of determining whether the
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 19 of 29. PageID #: 626



               Indemnification Threshold has been met and in the calculation of losses,
               all “materiality” qualifiers in this Agreement shall be disregarded.

       13.     Section 11.5(c) of the Agreement provides:

               The parties acknowledge and agree that their sole and exclusive remedy
               with respect to any and all Claims (other than Claims arising from fraud,
               criminal activity or willful misconduct on the part of a party hereto in
               connection with the transactions contemplated by this Agreement) for any
               breach of any representation, warranty, covenant, agreement or obligation
               set forth herein or otherwise relating to the subject matter of this
               Agreement, shall be pursuant to the indemnification provisions set forth in
               this Article XI. In furtherance of the foregoing, each party hereby
               waives, to the fullest extent permitted under Law, any and all rights,
               Claims and causes of Action for any breach of any representation,
               warranty, covenant, agreement or obligation set forth herein or
               otherwise relating to the subject matter of this Agreement it may have
               against the other parties hereto and their Affiliates and each of their
               respective Representatives arising under or based upon Law, except
               pursuant to the indemnification provisions set forth in this Article XI.
               * * * (Emphasis added).

       14.     Subsequently to the sale, Plaintiffs closed the facility operated by Air Tool in

Mentor, Ohio. (Testimony of Sabath, Molino, Horowtiz, Ober)

       15.     Plaintiffs have refused to permit Defendants to be paid the Closing Escrow

Payment out of the escrow account. (Testimony of Sabath, Molino, Horowitz)

       16.     Plaintiffs commenced this action on August 10, 2015. An Amended Complaint

was filed on October 22, 2015. The Amended Complaint asserts causes of action for breach of

contract and unjust enrichment. (Amended Complaint)

       17.     Specifically, Plaintiffs allege items transferred to Plaintiffs under the Agreement

were “non-saleable and without value” post-sale: (1) grinders and grinder parts inventory relating

to a customer, ATA; (2) two tools manufactured specifically for a customer, Michigan

Pneumatic; (3) parts manufactured prior the closing for a customer, TorcUp; and (4) various

other parts and assemblies. (Amended Complaint, at ¶¶ 13-17).
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 20 of 29. PageID #: 627



          18.   The Amended Complaint also alleges that Defendants breached the Agreement,

and thereby caused the Plaintiffs to sustain damages, as the result of the condition of certain

machinery transferred to Plaintiffs under the Agreement, including “operational losses” and

damages associated with “lost productivity.” (Id. at ¶¶ 18-24).

          19.   The discovery deadline in this case was January 20, 2017. (See Order [non-

document] dated November 10, 2016).

          20.   Plaintiffs were asked by Defendants in discovery to identify those experts whom

they intended to call at trial in support of their claims, and Plaintiffs identified none. (Pltf’s

Responses to Interrogatories and Requests for Production of Documents, in response to

Interrogatory No. 5, testimony of Plaintiffs’ representatives).

          21.   Plaintiffs did not provide expert disclosures for any witnesses as required under

Fed.R. Civ. P. 26(a)(2)(B) or (C) within the deadline established by Fed.R. Civ. P. 26(a)(2)(D).

          22.   The Amended Complaint further alleges that Defendants breached the Agreement

as a result of (1) certain product plans and drawings allegedly not being materially accurate and

complete; and (2) an Air Tool customer allegedly claimed ownership over certain unidentified

intellectual property that had been sold to Plaintiffs by Defendants. (Amended Complaint, at ¶¶

25-26).

          23.   In their Discovery Responses, Plaintiffs indicated that such claims were

“withdrawn.” (Pltf’s Responses to Interrogatories and Requests for Production of Documents, in

response to Interrogatory No. 17 and Request for Production No. 14, testimony of Plaintiffs’

representatives).
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 21 of 29. PageID #: 628



       24.     Finally, the Amended Complaint alleges that Defendants breached the Agreement

because certain credits allegedly owed to a customer for warranty claims were not reserved on

Air Tool’s balance sheet. (Amended Complaint, at ¶ 27).

       25.     When asked in discovery to state the basis for this claim, Plaintiffs indicated these

credits actually relate to parts a customer was attempting to return prior to closing, but which

were, in fact, returned and credited by Plaintiffs, after closing. Plaintiffs’ also did not itemize

any alleged damages to this claim as part of their Discovery Responses. (Pltf’s Responses to

Interrogatories and Requests for Production of Documents, in response to Interrogatory Nos. 18

and 20, testimony of Plaintiffs’ representatives).

                                   CONCLUSIONS OF LAW

       1.      Plaintiffs bear the burden of proving their entitlement to relief under a

preponderance of the evidence. See Eggert v. Meritain Health, Inc., 428 Fed.Appx. 558, 563

(6th Cir. 2011), citing Langfan v. Carlton Gardens Co., 183 Ohio App.3d 260, 916 N.E.2d 1079,

1087 (2009) (as to breach of contract); see also Gerboc v. ContextLogic, Inc., N.D.Ohio No. 1:16

CV 928, 2016 WL 6563684, *5 (N.D. Ohio 2016), citing Johnson v. Microsoft Corp., 106 Ohio

St. 3d 278, 285, 834 N.E.2d 791, 799 (2005) (as to unjust enrichment). Plaintiffs have not met

their burden with respect to the facts or the law.

       A.      Plaintiffs Did Not Prove their Breach of Contract Claims.

       2.      To prevail on their claims for breach of contract, Plaintiffs must prove: (1) the

existence of a binding contract; (2) that the nonbreaching party performed its contractual

obligations; (3) the other party failed to fulfill its contractual obligations without legal excuse;

and (4) the nonbreaching party suffered damages as a result of the breach. Nachar v. PNC Bank,
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 22 of 29. PageID #: 629



Nat. Ass'n, 901 F.Supp.2d 1012, 1018 (N.D.Ohio 2012) (Boyko, J.), citing Baghani v. Charter

One Bank F.S.B., No. 91373, 2009 WL 280399, ¶ 13 (Ohio Ct. App. Feb. 5, 2009)

        3.     As to the first element, no dispute exists as to the existence of a written contract

between the parties. However, Plaintiffs have not established the remaining three (3) elements of

their breach of contract claim.

        4.     As to the second element, Plaintiffs have not established their own performance

under the Agreement. Plaintiffs were required to perform a count of Air Tool’s inventory and

provide Defendants with an Inventory Acknowledgement within twenty (20) days after the

Closing Date. See Agreement, at § 2.3.2.1. Plaintiffs failed to properly and diligently conduct

an inventory review in violation of the Agreement, and did not provide Defendants with an

Inventory Acknowledgement until October 16, 2014 – sixty-two (62) days after the Closing

Date.

        5.     Plaintiffs were also required to pay Defendants the Closing Escrow Payment of

$387,500.00, and failed to do so. See Agreement, at § 2.3.4. Moreover, although Plaintiffs’

purported claims fall under the indemnification provision of the Agreement, and Plaintiffs

specifically waived the right to assert causes of action of the kind they are now asserting, as more

fully discussed below, Plaintiffs failed to perform in accordance with the indemnification

provision of the Agreement by initiating the instant lawsuit. Consequently, Plaintiffs have not

met their burden as to this element.

        6.     As to the third element, the condition and functionality of highly technical

machines and machine parts such as the ones at issue in this matter are beyond the experience or

knowledge of an average fact finder, and thus fall under the category of expert testimony. See

Fed. R. Evid. 702; see also, Guild Assoc., Inc. v. Bio-Energy (Washington), LLC, 309 F.R.D.
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 23 of 29. PageID #: 630



436, 441 (S.D.Ohio 2015) (noting that, in order to resolve a breach of contract action arising

from the alleged failure of a Nitrogen Removal Unit machine used to purify landfill gas into

pipeline quality gas, “it is likely that the jury will need to sort through complex testimony from

expert witnesses, highly technical evidence pertaining to machine functions at the BEW plant,

and evidence and testimony regarding contract clauses and sub clauses.”). Plaintiffs, having

failed to properly and diligently conduct an inventory review within twenty (20) days after the

Closing Date, in violation of the Agreement, and having failed to identify experts or make the

disclosures required under Civ.R. 26, have not met their burden as to this element.

       7.      As to the final element, a “party cannot recover damages for breach of contract

beyond the amount that is established by the evidence with reasonable certainty.”      Younglove

Const., LLC v. PSD Dev., LLC, 782 F.Supp.2d 457, 461 (N.D. Ohio 2011). “Proving damages

for breach of a contract requires greater certainty than in the proof of damages for a tort.”

Younglove Const., LLC, 782 F.Supp.2d at 461, fn 1, citing Kinetico, Inc. v. Independent Ohio

Nail Co., 19 Ohio App.3d 26, 30, 482 N.E.2d 1345 (Ohio Ct. App. 8th Dist. 1984); also citing

Hacker v. Mail, 1996 WL 346628, n. 5 (Ohio Ct. App. 12th Dist. 1996) (comparing Rest. 2d

Contracts § 352 (1981) with Rest. 2d Torts § 912 (1979)); 22 Am. Jur. 2d Damages § 484

(1988). To prove damages with reasonable certainty, expert testimony is often required. See,

e.g., Wood Elec., Inc., Plaintiff-Appellee, v. Ohio Facilities Construction Commission, 2017-

Ohio-2743, ¶ 20 (Ohio Ct. App. 10th Dist. 2017) (expert presented on issue of claimed damages

associated with “lost productivity”); Emerman v. Financial Commodity Investments, L.L.C.,

N.D.Ohio No. 1:13CV2546, 2016 WL 231309, **8-9 (N.D. Ohio 2016) (granting summary

judgment where plaintiff’s alleged damages, similarly to Plaintiffs’ alleged damages here, were

supported only by “multi-page spreadsheets, each of which contains multiple columns of
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 24 of 29. PageID #: 631



unexplained numbers and abbreviations” and finding plaintiff’s failure to obtain an expert

“perplexing when one considers the fact that they had every opportunity to obtain expert

testimony regarding damages”).      Plaintiffs, having failed to identify experts or make the

disclosures required under Civ.R. 26, have not met their burden as to the element of damages.

       B.      Plaintiffs’ Unjust Enrichment Claim Fails as a Matter of Law.

       8.      Under Ohio law, there are three elements Plaintiffs must prove in order to make a

claim for unjust enrichment. There must be: (1) a benefit conferred by the plaintiff upon the

defendant, (2) knowledge by the defendant of the benefit, and (3) retention of the benefit under

the circumstances where it would be unjust to do so without payment. Premier Colorscan

Instruments Pvt. Ltd. v. Q–Lab Corp., N.D.Ohio No. 1:15CV1900, 2016 WL 6124430, *5 (N.D.

Ohio Oct. 19, 2016) (Boyko, J.), citing Reisenfeld & Co. v. Network Group, Inc., 277 F.3d 856,

860 (6th Cir. 2002).

       9.      The doctrine of unjust enrichment does not apply when a contract actually exists;

rather, “it is an equitable remedy to be used only when the court finds there is no contract.”

Premier Colorscan, 2016 WL 6124430, *5 (citing Everett v. Verizon Wireless, Inc., 460 F.3d

818 (6th Cir. 2006).

       10.     In Ohio, recovery under an unjust enrichment claim is not permitted where an

express contract covers the same subject, with the exception that if the party the claim is against

acted in bad faith, then the unjust enrichment claim may proceed. See, e.g., White v. Wells Fargo

Bank, NA, 904 F. Supp. 2d 756, 767 (N.D. Ohio 2012) (explaining the rule and bad faith

exception); Randolph v. New England Mut. Life Ins. Co., 526 F.2d 1383, 1387 (6th Cir. 1975)

(recognizing the rule and the exception for bad faith). The bad faith exception is limited to

instances of bad faith where the party was induced into “entering into the contract, or . . . in
    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 25 of 29. PageID #: 632



terminating the contract.” White, 904 F. Supp. 2d at 767 (quoting Randolph, 526 F.2d at 1387)

(internal quotation marks omitted). “Bad faith is that which imports a dishonest purpose and

implies wrongdoing or some motive of self-interest.” Id., quoting Casserlie v. Shell Oil Co., 121

Ohio St.3d 55, 2009-Ohio-3, 902 N.E.2d 1, ¶ 32 (internal quotation marks omitted)

       11.      Here, in addition to the fact that Plaintiffs have waived the right to pursue a claim

for unjust enrichment, there is no dispute as to the existence of an express written contract

between the parties. Moreover, Plaintiffs’ Amended Complaint does not allege bad faith or fraud

on the part of either Defendant. As a result, Plaintiffs’ claim for unjust enrichment fails as a

matter of law. See, e.g., Premier Colorscan, 2016 WL 6124430 at *5 (Boyko, J.) (“Because

Plaintiff has not alleged fraud or bad faith in its unjust enrichment claim, Plaintiff does not

demonstrate an issue of material fact.”).

       C.       All of Plaintiffs’ Claims were Waived Under Section 11 of the Agreement.

       12.      Regardless of the theory advanced by Plaintiffs, each of their purported claims

falls under the indemnification provision of the Agreement, which provides, in pertinent part:

             11.2       Indemnification.

             11.2.1     General Indemnification Obligation of Seller and Shareholder.
             From and after the date hereof, Seller and Shareholder, jointly and severally,
             will reimburse, indemnify and hold harmless Purchaser and its directors,
             officers, employees, shareholders, successors and assigns (an “Indemnified
             Purchaser Party”) against and in respect of any and all Actions, damages,
             losses, diminution in value, deficiencies, liabilities, assessments, fines, costs
             and expenses, including court costs, costs and expenses of investigation and
             reasonable attorneys fees (collectively, “Losses”), incurred or suffered by any
             Indemnified Purchaser Party that result from, relate to or arise out of:

                *       *       *

                (b)     any misrepresentation or breach of warranty on the part of Seller
                        and/or Shareholder under this Agreement;
      Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 26 of 29. PageID #: 633



                 (c)     nonfulfillment of any agreement or covenant on the part of Seller
                         and/or Shareholder under this Agreement; * * *

        13.      Under the Agreement, the parties agreed to a process for the resolution of such

claims, and specifically waived the right to assert causes of action of the type Plaintiffs are now

asserting. Pursuant to Section 11.5(c) of the Agreement:

              The parties acknowledge and agree that their sole and exclusive remedy with
              respect to any and all Claims (other than Claims arising from fraud, criminal
              activity or willful misconduct on the part of a party hereto in connection with
              the transactions contemplated by this Agreement) for any breach of any
              representation, warranty, covenant, agreement or obligation set forth herein or
              otherwise relating to the subject matter of this Agreement, shall be pursuant to
              the indemnification provisions set forth in this Article XI. In furtherance of
              the foregoing, each party hereby waives, to the fullest extent permitted
              under Law, any and all rights, Claims and causes of Action for any
              breach of any representation, warranty, covenant, agreement or
              obligation set forth herein or otherwise relating to the subject matter of
              this Agreement it may have against the other parties hereto and their
              Affiliates and each of their respective Representatives arising under or
              based upon Law, except pursuant to the indemnification provisions set
              forth in this Article XI. * * * (Emphasis added).

        14.      Plaintiffs failed to follow the agreed-upon procedures for the resolution of their

purported claims under the Agreement, and instead, initiated the instant lawsuit.

        15.      The Plaintiffs have waived “any and all rights, Claims and causes of Action for

any breach of any representation, warranty, covenant, agreement or obligation set forth herein or

otherwise relating to the subject matter of this Agreement it may have against the other parties

hereto and their Affiliates and each of their respective Representatives arising under or based

upon Law, except pursuant to the indemnification provisions set forth in this Article XI.” As a

result, Plaintiffs claims for breach of contract and unjust enrichment fail as a matter of law.

VI.     EVIDENTIARY ISSUES

        Defendants have previously filed the following motions in limine:
       Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 27 of 29. PageID #: 634



         A.     Defendants’ Motion In Limine To Exclude Expert Opinion Testimony And To

                Limit Lay Opinion Testimony (ECF # 47);

         B.     Defendants’ Motion in Limine to Exclude the Presentation of Evidence

                Concerning Claims Abandoned by Plaintiffs in Discovery, or in the Alternative,

                Motion for Leave to File Motion for Partial Summary Judgment, Instanter (ECF #

                48);

         Contemporaneously with this Trial Brief, Defendants have submitted a Motion in Limine

to Preclude Plaintiffs from Calling any Witnesses or Presenting any Exhibits, due to their failure

to timely provide pre-trial disclosures in accordance with Fed. R. Civ. P. 26(a)(3) and this

Court’s Case Management Order (ECF # 27).

VII.     ESTIMATD TRIAL LENGTH

         Depending upon the Court’s resolution of Defendants’ pending motions in limine,

Defendants anticipate a bench trial of 1-3 days.

                                                    Respectfully submitted,

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Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 28 of 29. PageID #: 635



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    Case: 1:15-cv-01586-CAB Doc #: 53 Filed: 07/17/17 29 of 29. PageID #: 636



                               CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of July, 2017, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties not receiving service through the Court’s electronic filing

system will be served by regular U.S. mail. Parties may access this filing through the Court’s

system.

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                                                  and Rick J. Sabath
